         Case 5:13-cr-40057-DDC Document 52 Filed 04/10/14 Page 1 of 3




Michael E. Francis
434 SW Topeka Avenue
Topeka, Kansas 66603
Phone: 785/235-3415
Fax: 785/235-8089

                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS
                                (TOPEKA DOCKET)

UNITED STATES OF AMERICA, )
                          )
          Plaintiff,      )
                          )
     Vs.                  )             Case No. 13-40057-JAR
                          )
JONATHAN KEARN            )
                          )
          Defendant.      )

                       DEFENDANT’S MOTION TO CONTINUE
                                    TRIAL

        Comes now the Defendant, Jonathan Kearn, by and through his counsel, Michael

E. Francis, and moves the Court to continue the trial of this matter and in support

hereof, shows the Court:



        Procedural History: Defendant was charged by Complaint on May 10, 2013,

and was subsequently indicted on May 29, 2013. He made his initial appearance on the

Indictment on June 6, 2013, and is not in custody.

        On June 25, 2013, Defendant filed a Motion to Toll Speedy Trial and that motion

was granted on June 26, 2013. A Joint Motion to extend speed trial was filed on July 11,

2013, which motion was granted on July 17, 2013. Defendant filed another Motion to

Toll Speedy Trial on September 5, 2013, which motion was granted on September 13,

2013.
         Case 5:13-cr-40057-DDC Document 52 Filed 04/10/14 Page 2 of 3




       Additional Time Required: The undersigned was retained by Defendant on

April 9, 2014; contacted former counsel to request he sign a Withdrawal of Counsel and

Entry of Appearance of Substituted Counsel, which he did on April 10, 2014; the

undersigned filed the Withdrawal of Counsel and Entry of Appearance of Substituted

Counsel on the same date.

       Former counsel was to bring over the discovery he received from the United

States Attorney, however, he did not do so, but the same is expected, shortly. Current

counsel contacted AUSA Christine Kenney on April 10, 2014, and advised her of his

entry on the case and was advised there was a substantial amount of discovery in her

office, which had been viewed by former counsel.

       Because of counsel’s schedule and his caseload and the amount of discovery

and investigation in this case, it is not believed that the undersigned would have

sufficient time to adequately prepare for trial in this case.

       Defendant agrees with this request, after consultation with counsel.



       Additional Time is Justified Under the Speedy Trial Act: It is in the best

interest of the accused, the Government and the public to continue this case for trial in

order that the issues may be fully and fairly addressed and litigated. Failure to grant

such a continuance in a case would deny counsel for the defendant the reasonable time

necessary for effective preparation, taking into account the exercise of due diligence, it

is respectfully submitted. See 18 U.S.C. §3161(h)(7)(B)(iv).
         Case 5:13-cr-40057-DDC Document 52 Filed 04/10/14 Page 3 of 3




       Proposed Schedule: Defendant proposes the following for final disposition of

this case:

       Trial to be extended and additional 60 days.

       Consolidated pretrial deadlines due 14 days prior to trial.

       Estimated trial time is five (5) to seven (7) days.


                                                  Respectfully submitted,


                                                  __________________________
                                                  Michael E. Francis, KS No. 8783
                                                  434 SW Topeka Avenue
                                                  Topeka, Kansas 66603
                                                  Phone: 785/235-3415
                                                  Fax: 785/235-8089
                                                  Email: mfrancis26@cox.net




                               CERTIFICATE OF SERVICE

I, Michael E. Francis, do hereby certify that on April 10, 2014, I electronically filed the
foregoing document with the clerk of the court by using the CM/ECF system which will
send a notice of the electronic mailing to the following: Christine E. Kenney.

                                           /s/Michael E. Francis
                                           MICHAEL E. FRANCIS
